
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-04-266-CR





RICHIE JOE BISHOP &nbsp;&nbsp;&nbsp;&nbsp;				 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;		APPELLANT

A/K/A RICHIE JOE BISHOP JR.



V.

THE STATE OF TEXAS	STATE

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FROM CRIMINAL DISTRICT COURT NO. 3 OF TARRANT COUNTY

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MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

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We have considered appellant's “Motion To Withdraw Notice Of Appeal.” &nbsp;The motion complies with rule 42.2(a) of the rules of appellate procedure. 
Tex. R.
 
App
. P. 42.2(a). &nbsp;No decision of this court having been delivered before we received this motion, we grant the motion and dismiss the appeal. 
 See id.;
 
Tex. R. App. P.
 43.2(f).

PER CURIAM

PANEL D:	
MCCOY, J; CAYCE, C.J.; 
and LIVINGSTON, J.

DO NOT PUBLISH

Tex. R. App. P. 
47.2(b)



DELIVERED: September 30, 2004.

FOOTNOTES
1:See
 
Tex. R. App. P.
 47.4.




